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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Greenbelt Division


In Re:    Tamara Keon McCrae                            Case No. 13-30646-WIL
                                                        Chapter 13

**********************************
U.S. Bank Trust National Association, as
Trustee of the Tiki Series III Trust, Movant

vs.

Tamara Keon McCrae, Debtor
                  Respondent(s)


                       NOTICE REGARDING NOTICE OF DEFAULT

TO THE CLERK:

         This Notice serves to advise the Court that the Debtor(s) made payment(s) with respect to

the Notice of Default filed in the above captioned matter by the Movant or its successor in

interest. The Notice of Default as filed is either the first or second default under the terms of the

Agreed Order.

         Signed and mailed this 19th day of December, 2018.


                                               Respectfully submitted:

                                               /s/ Joshua Welborn, Esq. (Jwel)
                                               Attorney for Movant
                                               McCabe, Weisberg & Conway
                                               312 Marshall Avenue, Suite 800
                                               Laurel, MD 20707
                                               Bar No. 29359
                                               bankruptcymd@mwc-law.com




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                                CERTIFICATE OF SERVICE

I hereby certify that on the 19th day of December, 2018 I reviewed the Court’s CM/ECF system
and it reports that an electronic copy of the foregoing pleading will be served electronically by
the Court’s CM/ECF system on the following:

Timothy P. Branigan
9891 Broken Land Parkway
Suite 301
Columbia, Maryland 21046
cmecf@chapter13maryland.com

L. Jeanette Rice
Walsh, Becker, Wood & Rice
14300 Gallant Fox Lane
Suite 218
Bowie, Maryland 20715
riceesq@att.net

I hereby further certify that on the 19th day of December, 2018, a copy of the foregoing pleading
was also mailed first class mail, postage prepaid to:

Tamara Keon McCrae
7110 Sheffield Drive
Temple Hills, Maryland 20748
(Via U.S Mail)

                                                    /s/ Joshua Welborn, Esq.
                                                    Joshua Welborn, Esq.




18-603111
